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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


JOSEPH CARPIO, ET AL                                :
                                                    :
            v.                                      :   CASE NO. 3:06 CV 78 (SRU)
                                                    :
CHARTER OAK CARPENTRY, LLC                          :




                                        ORDER OF DISMISSAL

       This case is hereby dismissed without prejudice pursuant to Rule 41(a)(2) of the Federal Rules of

Civil Procedure because of plaintiffs’ failure to prosecute.

       The clerk is instructed to close the file.

       It is so ordered.

       Dated at Bridgeport this 8th day of June 2006.



                                               /s/ Stefan R. Underhill
                                               Stefan R. Underhill
                                               United States District Judge
